Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 1 of 17




                 Exhibit 5
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 2 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 3 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 4 of 17




         Attachment A
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 5 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 6 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 7 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 8 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 9 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 10 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 11 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 12 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 13 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 14 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 15 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 16 of 17
Case 1:25-cv-00883-JEB   Document 22-5   Filed 05/07/25   Page 17 of 17
